Case 6:12-cr-00205-RBD-G_K Document 123 Filed 03/08/13 Page 1 of 9 PageID 1259



                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION

 UNITED STATES OF AMERICA

 vs.                                                  Case No. 6:12-cr-205-Orl-37GJK-2

 JOEL TORRES


                                         ORDER

       This cause is before the Court on the following:

       1.       Defendant’s Motion for New Trial (Doc. 95), filed December 17, 2012;

       2.       Defendant’s Renewed Motion for Judgment of Acquittal (Doc. 96), filed

                December 17, 2012; and

       3.       United States’ Response in Opposition to Defendant’s Motions for

                Judgment of Acquittal and for New Trial, and Supporting Memorandum of

                Law (Doc. 99), filed December 21, 2012.

 Upon consideration, the Court hereby denies Defendant’s motions, for the reasons set

 forth below.

                                     BACKGROUND

       A six-day jury trial was held in this matter beginning on November 26, 2012.

 (Docs. 108–13, Tr. Vols. I–VI.) Defendant, the owner of a used-car dealership, was

 charged with: conspiracy to commit money laundering (Count 2); money laundering

 (Counts 3–13); and failing to file certain tax forms, Form 8300 (Counts 14–24).

 (Doc. 83.) The key issues at trial were: (1) whether Defendant knew that the cash

 coming into his dealership was proceeds from drug trafficking; and (2) whether

 Defendant knew that he was required to file Form 8300s when purchases of more than




                                             1
Case 6:12-cr-00205-RBD-G_K Document 123 Filed 03/08/13 Page 2 of 9 PageID 1260



 $10,000 were made in cash.

        Evidence was adduced at trial demonstrating that Defendant knew that the

 money was from drugs. In 2010, G.I., a member of a drug cartel, began purchasing cars

 at Defendant’s dealership with large amounts of cash. (Doc. 109, Tr. Vol. II, 25:25–

 27:13.) Eladio Marroquin-Medina, Defendant’s former friend and business partner who

 became involved in drug trafficking with G.I., testified that Defendant was suspicious

 after G.I. bought the first few cars because of the cash influx. (Id. at 43:6–44:11.) In

 October 2010, Medina told Defendant that G.I. was a drug trafficker. (Id. at 44:23–25,

 51:1–5.) Defendant responded that it “wasn’t his problem or his business, that [they]

 were only selling cars.”1 (Id. at 44:10–11.) Even though Defendant was aware that G.I.

 was a drug trafficker, Defendant continued to sell cars to G.I. and to accept his cash on

 a weekly basis. (Id. at 45:1–16.) In fact, in the span of three weeks in November 2010,

 G.I. brought in over $120,000 in cash—more cash than all of the other customers had

 brought in during the rest of the year combined. (Doc. 110, Tr. Vol. III, 180:4–14.)

        Furthermore, Defendant was present when the cameras were turned off in his

 office while Defendant, Medina, and G.I. counted the cash. (Doc. 109, Tr. Vol. II, 47:1–

 24; Doc. 110, 13:6–8.) Both Medina and G.I. testified that Defendant asked G.I. to bring

 larger cash denominations, rather than $5 and $10 bills. (Doc. 109, Tr. Vol. II, 48:11–23;

 Doc. 110, Tr. Vol. III, 15:7–18.) Both also testified that Defendant told G.I. not to bring

 money that smelled2 of marijuana. (Doc. 109, Tr. Vol. II, 50:5–9; Doc. 110, Tr. Vol. III,

 13:22–14:6.) Additionally, Adolfo Tamez, another drug trafficker, testified that he had
        1
            G.I. also testified that at another point, Defendant stated that “he didn’t want to
 be involved with the drugs, . . . that he was just buying vehicles for us.” (Doc. 110, Tr.
 Vol. III, 17:21–25.)
          2
            Defendant did not dispute that he said the money smelled, but averred that he
 would not know what marijuana smelled like. (Doc. 111, Tr. Vol. IV, 66:14–25.)



                                               2
Case 6:12-cr-00205-RBD-G_K Document 123 Filed 03/08/13 Page 3 of 9 PageID 1261



 conversations with Defendant in which Defendant described vehicles with hidden

 compartments that could conceal drugs and money. (Doc. 110, Tr. Vol. III, 148:7–

 149:6.)

        Evidence was also presented regarding Defendant’s knowledge of the required

 tax forms. In 2006, Defendant and Medina attended a training course together to obtain

 their car dealer’s licenses. (Doc. 109, Tr. Vol. II, 23:10–19.) At the course, they learned

 how to fill out Form 8300s when they received more than $10,000 in cash for a car. (Id.

 at 23:20–22, 25:11–17.) The regional manager of the Florida Department of Highway

 Safety and Motor Vehicles corroborated this assertion, testifying that such courses’

 curricula include a discussion of these forms. (Doc. 108, Tr. Vol. I, 236:12–243:10.)

 Defendant acknowledged that he attended training courses and passed tests to attain

 and maintain his license. (Doc. 111, Tr. Vol. IV, 33:9–17.) In fact, in the file for each car

 sold at the dealership, there is a checklist of forms to be filled out which includes “I.R.S.

 Form 8300”—that even says “+$10,000 cash” next to it. (Id. at 96:25–98:11.)

        However, Defendant never filed any Form 8300s, even though G.I. purchased

 many vehicles with more than $10,000 in cash. (Doc. 109, Tr. Vol. II, 26:14–38:19;

 Doc. 110, Tr. Vol. III, 185:17–20.) The reason cartel members purchased the vehicles at

 Defendant’s dealership was because Defendant and Medina did not report cash

 purchases over $10,000. (Doc. 110, Tr. Vol. III, 147:4–8.)

        In March 2012, an IRS agent went undercover to purchase a car from Defendant

 to see if he would be willing not to file the required tax forms. (Doc. 110, Tr. Vol. III,

 115:12–116:2.) Defendant was unaware that the agent recorded the conversation. (Id.

 at 116:9–10.) In the recording, Defendant discussed that he normally has to report cash

 transactions of more than $10,000. (Id. at 122:4–15.) The agent feigned that he was



                                              3
Case 6:12-cr-00205-RBD-G_K Document 123 Filed 03/08/13 Page 4 of 9 PageID 1262



 asking for a “favor”—Defendant not reporting the purchase—in exchange for an extra

 $1,000 cash; Defendant responded that he was not willing to take the risk for that

 amount. (Id. at 125:19–25.)

         Defendant moved for a judgment of acquittal at the close of the Government’s

 case and at the close of all the evidence (Docs. 68, 73), both of which the Court orally

 denied (Docs. 69, 74). The jury acquitted Defendant of Counts 2–10 and convicted him

 of Counts 11–24.3 (Doc. 82.)

         Defendant subsequently moved for a new trial. (Doc. 95.) Defendant also

 renewed his motion for judgment of acquittal. (Doc. 96.) The Government opposed.

 (Doc. 99.) This matter is now ripe for the Court’s adjudication.

                                       STANDARDS

    I.       Motion for Judgment of Acquittal

         Federal Rule of Criminal Procedure 29 provides that the Court must “enter a

 judgment of acquittal of any offense for which the evidence is insufficient to sustain a

 conviction.” The test is whether, viewing the evidence and inferences drawn therefrom

 in the light most favorable to the Government, substantial evidence exists to support the

 verdict. United States v. Schwartz, 666 F.2d 461, 463 (11th Cir. 1982). The Court need

 only find that a reasonable juror could conclude that the evidence establishes

 Defendant’s guilt beyond a reasonable doubt. United States v. Hasson, 333 F.3d 1264,

 1270 (11th Cir. 2003). The Court is “bound by the jury’s credibility determinations, and
         3
         Notably, the jury acquitted Defendant of the money laundering counts related to
 transactions in 2010 (Counts 3–10), but convicted him of the counts related to
 transactions in 2011 (Counts 11–13). (Doc. 82.) This implies that the jury accepted
 Medina’s assertion that he told Defendant that G.I. was a drug dealer in late 2010. It
 also suggests that the jury found the exponential increase in cash at the end of 2010 to
 belie Defendant’s assertion that he was unaware of the source of the money going into
 2011.



                                              4
Case 6:12-cr-00205-RBD-G_K Document 123 Filed 03/08/13 Page 5 of 9 PageID 1263



 by its rejection of the inferences raised by the defendant.” United States v. Peters, 403

 F.3d 1263, 1268 (11th Cir. 2005).

    II.      Motion for New Trial

          “[T]he court may vacate any judgment and grant a new trial if the interest of

 justice so requires.” Fed. R. Crim. P. 33(a). “[A] motion for new trial made on the ground

 that the verdict is contrary to the weight of the evidence raises issues very different from

 a motion for judgment of acquittal notwithstanding the verdict, which is based on the

 sufficiency of the evidence.” United States v. Martinez, 763 F.2d 1297, 1312 (11th Cir.

 1985). On a motion for new trial, the Court need not view the evidence in the light most

 favorable to the Government. Id.

          However, “[t]he court may not reweigh the evidence and set aside the verdict

 simply because it feels some other result would be more reasonable. The evidence

 must preponderate heavily against the verdict, such that it would be a miscarriage of

 justice to let the verdict stand.” Id. at 1312–13 (citations omitted). While the decision is

 within the sound discretion of the Court, granting a motion for a new trial is disfavored:

 “Courts are to grant them sparingly and with caution, doing so only in those really

 exceptional cases.” Id. at 1313 (citations and internal quotation marks omitted).

                                       DISCUSSION

    I.       Acquittal

          In support of his renewed motion for a judgment of acquittal, Defendant argues

 that “the Government did not present sufficient evidence of Defendant’s knowledge that

 the money used to purchase the vehicles was the proceeds of illegal activity.” (Doc. 96,

 p. 2.) On the contrary, significant evidence evinced Defendant’s knowledge. Medina

 testified that Defendant was suspicious of the fact that the dealership was suddenly



                                              5
Case 6:12-cr-00205-RBD-G_K Document 123 Filed 03/08/13 Page 6 of 9 PageID 1264



 flush with cash from one customer. Indeed, in less than one month, he had gotten more

 cash from G.I. than he had received in the entire rest of the year from all of his other

 customers combined—quite the red flag. Defendant was also present when the

 cameras were turned off so that he, Medina, and G.I. could count the cash—small bills

 that smelled of marijuana. Together with the evidence that Medina told Defendant that

 G.I. was a drug dealer, this all adds up to establish that Defendant knew exactly the

 source of his suddenly huge cashflow.

        Defendant also contends that the evidence was insufficient to establish that he

 knew he was required to file Form 8300s. (Id.) However, plenty of evidence adduced at

 trial demonstrated Defendant’s knowledge. He took the licensing classes and passed

 the tests. Medina stated that they learned about Form 8300s in the course, and those

 courses’ curricula include a discussion of the forms. Further, the reason that cartel

 members went to Defendant’s dealership was to get around the reporting requirement.

 Finally, the video of the IRS agent’s undercover operation demonstrated that Defendant

 knew about the forms and chose not to file them when it suited him—namely, when the

 risk of the “favor” was worth the reward in extra cash.

        Though Medina and G.I. certainly do not have sterling credibility, their

 testimonies were internally consistent and they corroborated each other’s stories. The

 jury obviously found that Defendant’s own credibility was lacking when he swore that he

 did not know anything, even in the face of a sudden sharp spike in cash profits

 consisting of $5 and $10 bills4 that literally smelled like marijuana.

        The testimony of those witnesses and numerous others, along with the bank
        4
         “Nickel bags” and “dime bags,” in drug parlance, are “the units in which small
 amounts of marijuana are generally sold for five or ten dollars.” State v. Williams, 321
 S.E.2d 561, 564 (N.C. Ct. App. 1984).



                                               6
Case 6:12-cr-00205-RBD-G_K Document 123 Filed 03/08/13 Page 7 of 9 PageID 1265



 records and video recording, firmly support the notion that Defendant indeed knew the

 illegal source of the money and knew that he was supposed to report the purchases.

 Viewed in the light most favorable to the Government, a reasonable juror could certainly

 find Defendant’s guilt beyond a reasonable doubt based upon this evidence. Therefore,

 Defendant’s motion for a judgment of acquittal is due to be denied.

    II.      New Trial

          In support of his motion for a new trial, Defendant first argues that “the Court

 erred in allowing the Government to introduce evidence of drug trafficking” committed

 by Medina and the other alleged co-conspirators. (Doc. 95, p. 1.) Defendant contends

 that “[t]here was not one piece of evidence that Defendant was involved in or even knew

 about these activities.” (Id. at 2.) He submits that the evidence about drug trafficking

 worked substantial prejudice on his case, justifying a new trial. (Id.)

          The Court considered Defendant’s motion to exclude evidence of the drug

 trafficking conspiracy carefully, and accordingly limited the scope of examination on that

 matter several times during the trial. The Court only allowed such testimony to the

 extent that it bore on Defendant’s knowledge or the credibility of witnesses involved in

 the conspiracy; further, the Court gave the jury numerous limiting instructions to that

 effect. (See, e.g., Doc. 109, Tr. Vol. II, 60:11–23; Doc. 110, Tr. Vol. III, 29:23–30:10,

 34:16–35:7, 35:20–36:6.) Even with these limitations, ample evidence supported the

 conclusion that Defendant knew that the money he was receiving was from drug

 trafficking, as discussed above. Therefore, Defendant was not substantially prejudiced.

          Defendant also argues that Medina’s testimony—specifically, that he and

 Defendant learned that they had to file Form 8300s during a course they attended

 together—should be disregarded in light of his “significant credibility issues.” (Doc. 95,



                                               7
Case 6:12-cr-00205-RBD-G_K Document 123 Filed 03/08/13 Page 8 of 9 PageID 1266



 p. 4.) As discussed above, though Medina did in fact have some blemishes on his

 credibility, his testimony was internally cohesive and corroborated by other witnesses.

 Defendant’s own credibility, on the other hand, was highly suspect, as he stated that he

 took not one but multiple training courses and passed tests on the material. On cross-

 examination, he was evasive and his answers were internally contradictory. (See, e.g.,

 Doc. 111, Tr. Vol. IV, 89:19–90:9, 97:24–98:11, 99:6–100:6.) Additionally, the

 undercover video severely undercut Defendant’s protestations that he did not know

 about the forms because he intimated that he would choose not to file them if the price

 were right.

        Thus, in light of the record as a whole, the Court finds that the verdict was not

 against the great weight of the evidence. There was no miscarriage of justice here;

 Defendant had his day in court, the evidence proved him guilty, and the verdict should

 not be disturbed. Therefore, Defendant’s motion for a new trial is due to be denied.

                                      CONCLUSION

        Accordingly, it is hereby ORDERED AND ADJUDGED:

        1.     Defendant’s Motion for New Trial (Doc. 95) is DENIED.

        2.     Defendant’s Renewed Motion for Judgment of Acquittal (Doc. 96) is

               DENIED.

 DONE AND ORDERED in Chambers in Orlando, Florida, on March 7, 2013.




                                             8
Case 6:12-cr-00205-RBD-G_K Document 123 Filed 03/08/13 Page 9 of 9 PageID 1267




 Copies:

 Counsel of Record




                                      9
